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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                              CASE NO. 2:22-cv-14345-DMM

  LAUREN PEOPLES, for herself and
  on behalf of those similarly situated,

         Plaintiffs,


  TURTLEFTPIERCE, LLC, a Florida
  Limited Liability Company, d/b/a
  THIRSTY TURTLE SEAGRILL,
  PANHANDLERS, INC., a Florida Profit Corporation,
  d/b/a THIRSTY TURTLE SEAGRILL,
  TURTLE SPORT, INC., a Florida Profit Corporation,
  d/b/a THIRSTY TURTLE SEAGRILL,
  TURTLE PARTNERS, LLC, a
  Florida Limited Liability Company,
  d/b/a THIRSTY TURTLE SEAGRILL.

        Defendants.
  __________________/

                                     MEDIATOR’S REPORT

         COMES NOW, the undersigned certified Mediator, Cathleen Scott, and reports to this

  Honorable Court:

         Mediation was held on February 2, 2023, the parties reached a resolution in full.

         The Plaintiff was present via Zoom video conference with their counsel in person.

  Defendants were present together with counsel.

         Dated this 3rd day of February 2023.

                                           s/Cathleen Scott
                                           Cathleen Scott, Esq.
                                           Florida Bar No. 135331
                                           Primary e-mail: CScott@scottlawteam.com
                                           Secondary e-mail: mail@scottlawteam.com
                                           SCOTT LAW TEAM, LLC.

                                            Scott Law Team, LLC
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